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                                  9                        UNITED STATES DISTRICT COURT
                                 10
                                                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                       CRYSTAL REDICK, an individual,            CASE NO.:
                                 12
                                                           Plaintiff,
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                                 13                                                     COMPLAINT
                                             v.                                      1. VIOLATIONS OF THE
                                 14
                                                                                        AMERICANS WITH
                                 15    BOKA MANAGEMENT LOS
                                                                                        DISABILITIES ACT OF 1990, 42
                                       ANGELES, LLC D/B/A CABRA
                                 16                                                     U.S.C. § 12181
                                       LOS ANGELES, a California limited
                                                                                     2. VIOLATIONS OF THE UNRUH
                                 17    liability company; and DOES 1 to 10,
                                                                                        CIVIL RIGHTS ACT,
                                       inclusive,
                                 18                                                     CALIFORNIA CIVIL CODE § 51
                                                                                        DEMAND FOR JURY TRIAL
                                 19                       Defendants.
                                 20
                                 21          Plaintiff Crystal Redick (hereafter “Plaintiff”) brings this action based upon
                                 22    personal knowledge as to herself and her own acts, and as to all other matters upon
                                 23    information and belief, based upon, inter alia, the investigations of her attorneys.
                                 24                              NATURE OF THE ACTION
                                 25          1.     Plaintiff is a visually impaired and legally blind individual who
                                 26    requires screen-reading software to read website content using her computer.
                                 27    Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with
                                 28    visual impairments who meet the legal definition of blindness in that they have a
                                                                                 1
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1    visual acuity with correction of less than or equal to 20 x 200. Some blind people
                                  2    who meet this definition have limited vision. Others have no vision.
                                  3          2.     Plaintiff brings this Complaint to secure redress against Boka
                                  4    Management Los Angeles, LLC d/b/a Cabra Los Angeles (hereafter “Defendant”),
                                  5    and DOES 1-10, for its failure to design, construct, maintain, and operate its website
                                  6    to be fully and equally accessible to and independently usable by Plaintiff and other
                                  7    blind or visually-impaired individuals. Defendant’s denial of full and equal access
                                  8    to its website, and therefore denial of its products and services offered thereby and
                                  9    in conjunction with its physical location, is a violation of Plaintiff’s rights under the
                                 10    Americans with Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act
                                 11    (“UCRA”).
                                 12          3.     Because Defendant’s website, https://www.cabralosangeles.com/ (the
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                                       “website” or “Defendant’s website”), is not fully or equally accessible to blind and
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                                 13
                                 14    visually impaired consumers in violation of the ADA, Plaintiff seeks a permanent
                                 15    injunction to cause a change in Defendant’s corporate policies, practices, and
                                 16    procedures so that Defendant’s website will become and remain accessible to
                                 17    Plaintiff and other blind and visually impaired consumers.
                                 18                                       THE PARTIES
                                 19          4.     Plaintiff, at all times relevant and as alleged herein, is a resident of the
                                 20    County of Los Angeles. Plaintiff is a legally blind, visually impaired, handicapped
                                 21    person, and a member of a protected class of individuals under the ADA, pursuant
                                 22    to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set forth
                                 23    at 28 CFR §§ 36.101 et seq.
                                 24          5.     Defendant is a California limited liability company with its
                                 25    headquarters in Los Angeles, California. Defendant’s servers for the website are in
                                 26    the United States. Defendant conducts a large amount of its business in California
                                 27    and the United States as a whole. The physical location where Defendant’s goods
                                 28    and services are sold to the public constitutes a place of public accommodation.
                                                                                   2
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1    Defendant’s restaurant provides to the public important goods and services.
                                  2    Defendant’s website provides consumers access to a “a spirited rooftop dining and
                                  3    drinking destination inspired by the vibrant flavors of Peruvian Cuisine.”
                                  4    Consumers can access information regarding Defendant’s menus, reservations,
                                  5    Defendant’s private dining, and photo gallery. Consumers can also access
                                  6    information regarding Defendant’s contact information, location, hours, career
                                  7    opportunities, Defendant’s email newsletter sign-up, gift cards, and Defendant’s
                                  8    social media webpages.
                                  9          6.     Plaintiff is unaware of the true names, identities, and capacities of each
                                 10    Defendant sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 11    complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 12    ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
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                                 13    Defendant sued herein as a DOE is legally responsible in some manner for the
                                 14    events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 15    proximately caused injuries and damages to Plaintiff as set forth below.
                                 16          7.     Defendant’s restaurant is a public accommodation within the
                                 17    definition of Title III of the ADA, 42 U.S.C. § 12181(7).
                                 18          8.     The website, https://www.cabralosangeles.com/, is a service,
                                 19    privilege, or advantage of Defendant’s services, products, and location.
                                 20                             JURISDICTION AND VENUE
                                 21          9.     Defendant is subject to personal jurisdiction in this District. Defendant
                                 22    has been and continues to commit the acts or omissions alleged herein in the Central
                                 23    District of California, that caused injury, and violated rights prescribed by the ADA
                                 24    and UCRA, to Plaintiff. A substantial part of the acts and omissions giving rise to
                                 25    Plaintiff’s claims occurred in the Central District of California. Specifically, on
                                 26    several separate occasions, Plaintiff has been denied the full use and enjoyment of
                                 27    the facilities, goods, and services of Defendant’s website in Los Angeles County.
                                 28    The access barriers Plaintiff has encountered on Defendant’s website have caused
                                                                                 3
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1    a denial of Plaintiff’s full and equal access multiple times in the past and now deter
                                  2    Plaintiff on a regular basis from accessing Defendant’s website. Similarly, the
                                  3    access barriers Plaintiff has encountered on Defendant’s website have impeded
                                  4    Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s
                                  5    brick-and-mortar location.
                                  6          10.    This Court also has subject-matter jurisdiction over this action
                                  7    pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
                                  8    under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
                                  9          11.    This Court has personal jurisdiction over Defendant because it
                                 10    conducts and continues to conduct a substantial and significant amount of business
                                 11    in the State of California, County of Los Angeles, and because Defendant’s
                                 12    offending website is available across California.
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                                 13          12.    Venue is proper in the Central District of California pursuant to 28
                                 14    U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
                                 15    continues to conduct a substantial and significant amount of business in this District,
                                 16    Defendant is subject to personal jurisdiction in this District, and a substantial
                                 17    portion of the conduct complained of herein occurred in this District.
                                 18      THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 19          13.    The Internet has become a significant source of information, a portal,
                                 20    and a tool for conducting business, doing everyday activities such as shopping,
                                 21    learning, banking, researching, as well as many other activities for sighted, blind,
                                 22    and visually impaired persons alike.
                                 23          14.    In today's tech-savvy world, blind and visually impaired people have
                                 24    the ability to access websites using keyboards in conjunction with screen access
                                 25    software that vocalizes the visual information found on a computer screen. This
                                 26    technology is known as screen-reading software.          Screen-reading software is
                                 27    currently the only method a blind or visually impaired person may use to
                                 28    independently access the internet. Unless websites are designed to be read by
                                                                                  4
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1    screen-reading software, blind and visually impaired persons are unable to fully
                                  2    access websites, and the information, products, and services contained thereon.
                                  3          15.    Blind and visually impaired users of Windows operating system-
                                  4    enabled computers and devices have several screen-reading software programs
                                  5    available to them. Some of these programs are available for purchase and other
                                  6    programs are available without the user having to purchase the program separately.
                                  7    Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                  8    popular, separately purchased and downloaded screen-reading software program
                                  9    available for a Windows computer.
                                 10          16.    For screen-reading software to function, the information on a website
                                 11    must be capable of being rendered into text. If the website content is not capable
                                 12    of being rendered into text, the blind or visually impaired user is unable to access
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                                 13    the same content available to sighted users.
                                 14          17.    The international website standards organization, the World Wide
                                 15    Web Consortium, known throughout the world as W3C, has published Success
                                 16    Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 17    hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 18    accessible to blind and visually impaired people. These guidelines are adopted,
                                 19    implemented, and followed by most large business entities who want to ensure their
                                 20    websites are accessible to users of screen-reading software programs. Though
                                 21    WCAG 2.1 has not been formally adopted as the standard for making websites
                                 22    accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 23    maintain, and provide a website that is accessible under the ADA to the public.
                                 24          18.    Within this context, the Ninth Circuit has recognized the viability of
                                 25    ADA claims against commercial website owners/operators with regard to the
                                 26    accessibility of such websites. Robles v. Domino’s Pizza, LLC, 913 F.3d 898, 905-
                                 27    06 (9th Cir. 2019), cert. denied, 140 S.Ct. 122, 206 L. Ed. 2d 41 (2019). This is in
                                 28    addition to the numerous courts that have already recognized such application.
                                                                                 5
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1          19.    Each of Defendant’s violations of the Americans with Disabilities Act
                                  2    is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                  3    Act provides that any violation of the ADA constitutes a violation of the Unruh
                                  4    Civil Rights Act. Cal. Civ. Code § 51(f).
                                  5          20.    Further, Defendant’s actions and inactions denied Plaintiff full and
                                  6    equal access to their accommodations, facilities, and services.         A substantial
                                  7    motivating reason for Defendant to deny Plaintiff access was the perception of
                                  8    Plaintiff’s disability.     Defendant’s denial of Plaintiff’s accessibility was a
                                  9    substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
                                 10    to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                 11    in causing the lack of access to Plaintiff. Unruh Civil Rights Act, Cal. Civ. Code §
                                 12    51.
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                                 13          21.    Inaccessible or otherwise non-compliant websites pose significant
                                 14    access barriers to blind and visually impaired persons.              Common barriers
                                 15    encountered by blind and visually impaired persons include, but are not limited to,
                                 16    the following:
                                 17                 a. A text equivalent for every non-text element is not provided;
                                 18                 b. Title frames with text are not provided for identification and
                                 19                     navigation;
                                 20                 c. Equivalent text is not provided when using scripts;
                                 21                 d. Forms with the same information and functionality as for sighted
                                 22                     persons are not provided;
                                 23                 e. Information about the meaning and structure of content is not
                                 24                     conveyed by more than the visual presentation of content;
                                 25                 f. Text cannot be resized without assistive technology up to 200
                                 26                     percent without loss of content or functionality;
                                 27                 g. If the content enforces a time limit, the user is not able to extend,
                                 28                     adjust or disable it;
                                                                                  6
                                                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                h. Web pages do not have titles that describe the topic or purpose;
                                  2                i. The purpose of each link cannot be determined from the link text
                                  3                   alone or from the link text and its programmatically determined link
                                  4                   context;
                                  5                j. One or more keyboard operable user interface lacks a mode of
                                  6                   operation where the keyboard focus indicator is discernible;
                                  7                k. The default human language of each web page cannot be
                                  8                   programmatically determined;
                                  9                l. When a component receives focus, it may initiate a change in
                                 10                   context;
                                 11                m. Changing the setting of a user interface component may
                                 12                   automatically cause a change of context where the user has not been
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                                 13                   advised before using the component;
                                 14                n. Labels or instructions are not provided when content requires user
                                 15                   input;
                                 16                o. In content which is implemented by using markup languages,
                                 17                   elements do not have complete start and end tags, elements are not
                                 18                   nested according to their specifications, elements may contain
                                 19                   duplicate attributes and/or any IDs are not unique;
                                 20                p. Inaccessible Portable Document Format (PDFs); and
                                 21                q. The name and role of all User Interface elements cannot be
                                 22                   programmatically determined; items that can be set by the user
                                 23                   cannot be programmatically set; and/or notification of changes to
                                 24                   these items is not available to user agents, including assistive
                                 25                   technology.
                                 26                               FACTUAL BACKGROUND
                                 27          22.   Defendant offers the https://www.cabralosangeles.com/ website to the
                                 28    public. The website offers features which should allow all consumers to access the
                                                                                7
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1    goods and services which Defendant offers in connection with its physical location.
                                  2    The goods and services offered by Defendant include, but are not limited to, the
                                  3    following: Defendant’s brunch menu with offerings such as avocado dip, hot
                                  4    chorizo & queso dip, chicken empanadas, bass ceviche, fruit ceviche, crab causa,
                                  5    the giant empanada, chicken thigh skewers, springy omelette, quinoa sourdough
                                  6    French toast, choclo, smoked salmon dip, beef empanadas, swiss chard & kale
                                  7    empanadas, salmon ceviche, tuna & tots, tomato & chorizo salad, chorizo skewers,
                                  8    wood fired skirt steak & eggs, octo-hash pancake, papas huancaina, and wood fired
                                  9    sprouted cauliflower; Defendant’s dinner menu with offerings such as quinoa &
                                 10    beet salad, chicken thigh skewers, sauteed bay scallops, sweet and sour branzino,
                                 11    Hamachi tiradito, tomato & chorizo salad, salmon skewers, and pork shank;
                                 12    Defendant’s cocktail menu which includes, pisco sour, tropical fizz, cucumber
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                                       situation, pisco fever, LA dreamin’, pass the honey, and limborange you glad;
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                                 13
                                 14    Defendant’s beer menu with offerings such as a lager, tangerine ale, passionfruit
                                 15    wild ale, pilsner, hazy IPA, west coast IPA, and hard seltzers; Defendant’s wine
                                 16    menu which include sparkling wine, white wine, rose + orange wine, and red wine.
                                 17    Furthermore, Defendant’s website allows consumers to access information
                                 18    regarding Defendant’s gallery, the ability to book a private dining event online, the
                                 19    ability to learn about Defendant’s bar & wine and full buyout options and the ability
                                 20    to make an online reservation. Defendant’s website further allows consumers to
                                 21    access Defendant’s contact information, location, hours, career opportunities with
                                 22    Defendant, an email newsletter sign-up, gift cards, Defendant’s social media
                                 23    webpages, and much more.
                                 24          23.    Based on information and belief, it is Defendant’s policy and practice
                                 25    to deny Plaintiff, along with other blind or visually impaired users, access to
                                 26    Defendant’s website, and to therefore specifically deny the goods and services that
                                 27    are offered and integrated within Defendant’s restaurant. Due to Defendant’s
                                 28    failure and refusal to remove access barriers on its website, Plaintiff and other
                                                                                 8
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                                  1    visually impaired persons have been and are still being denied equal and full access
                                  2    to Defendant’s restaurant and the numerous goods, services, and benefits offered to
                                  3    the public through Defendant’s website.
                                  4    DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT, CAL. CIV.
                                  5                      CODE § 51(f) DENY PLAINTIFF ACCESS
                                  6          24.    Plaintiff is a visually impaired and legally blind person, who cannot
                                  7    use a computer without the assistance of screen-reading software. However,
                                  8    Plaintiff is a proficient user of the JAWS or NV ACCESS screen-reader(s) as well
                                  9    as Mac’s VoiceOver and uses it to access the internet. Plaintiff has visited
                                 10    https://www.cabralosangeles.com/ on several separate occasions using the JAWS
                                 11    and/or VoiceOver screen-readers.
                                 12          25.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
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                                 13    encountered multiple access barriers which denied Plaintiff full and equal access to
                                 14    the facilities, goods, and services offered to the public and made available to the
                                 15    public on Defendant’s website. Due to the widespread access barriers Plaintiff
                                 16    encountered on Defendant’s website, Plaintiff has been deterred, on a regular basis,
                                 17    from accessing Defendant’s website.
                                 18          26.    While attempting to navigate Defendant’s website, Plaintiff
                                 19    encountered multiple accessibility barriers for blind or visually impaired people that
                                 20    include, but are not limited to, the following:
                                 21                 a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 22                    is invisible code embedded beneath a graphic or image on a website
                                 23                    that is read to a user by a screen-reader. For graphics or images to
                                 24                    be fully accessible for screen-reader users, it requires that alt-text
                                 25                    be coded with each graphic or image so that screen-reading
                                 26                    software can speak the alt-text to describe the graphic or image
                                 27                    where a sighted user would just see the graphic or image. Alt-text
                                 28                    does not change the visual presentation, but instead a text box
                                                                                 9
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                   shows when the cursor hovers over the graphic or image. The lack
                                  2                   of alt-text on graphics and images prevents screen-readers from
                                  3                   accurately vocalizing a description of the image or graphic.
                                  4                b. Empty Links that contain No Text causing the function or purpose
                                  5                   of the link to not be presented to the user. This can introduce
                                  6                   confusion for keyboard and screen-reader users;
                                  7                c. Redundant Links where adjacent links go to the same URL address
                                  8                   which results in additional navigation and repetition for keyboard
                                  9                   and screen-reader users; and
                                 10                d. Linked Images missing alt-text, which causes problems if an image
                                 11                   within a link does not contain any descriptive text and that image
                                 12                   does not have alt-text. A screen reader then has no content to
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                                 13                   present the user as to the function of the link, including information
                                 14                   or links for and contained in PDFs.
                                 15         27.    Recently in 2022, Plaintiff attempted to do business with Defendant
                                 16   on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
                                 17   website.       Plaintiff   has    visited        prior   iterations   of   the   website,
                                 18   https://www.cabralosangeles.com/, and also encountered barriers to access on
                                 19   Defendant’s website.
                                 20         28.    Despite past and recent attempts to do business with Defendant on its
                                 21   website, the numerous access barriers contained on the website and encountered by
                                 22   Plaintiff, have denied Plaintiff full and equal access to Defendant’s website.
                                 23   Plaintiff, as a result of the barriers on Defendant’s website, continues to be deterred
                                 24   from accessing Defendant’s website. Likewise, based on the numerous access
                                 25   barriers Plaintiff has been deterred and impeded from the full and equal enjoyment
                                 26   of goods and services offered in Defendant’s restaurant.
                                 27   ///
                                 28   ///
                                                                                  10
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1           DEFENDANT’S WEBSITE HAS A SUFFICIENT NEXUS TO
                                  2        DEFENDANT’S RESTAURANT LOCATION TO SUBJECT THE
                                  3      WEBSITE TO THE REQUIREMENTS OF THE AMERICANS WITH
                                  4                                   DISABILITIES ACT
                                  5         29.    In the Ninth Circuit a denial of equal access to a website can support
                                  6   an ADA claim if the denial has prevented or impeded a visually impaired plaintiff
                                  7   from equal access to, or enjoyment of, the goods and services offered at the
                                  8   defendant’s physical facilities. See Martinez v. San Diego County Credit Union, 50
                                  9   Cal. App. 5th, 1048, 1063 (2020) (citing Robles v. Domino’s Pizza, LLC, 913 F.3d
                                 10   898, 905-06 (9th Cir. 2019)).
                                 11         30.    Defendant’s website is subject to the ADA because the goods and
                                 12   services offered on the website are an extension of the goods and services offered
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                                      in Defendant’s brick-and-mortar restaurant. For example, consumers can explore
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                                 13
                                 14   Defendant’s menus, purchase gift cards, book private events and make online
                                 15   reservations, which can be used in Defendant’s brick-and-mortar restaurant. Thus,
                                 16   since the Website “facilitate[s] access to the goods and services of a place of public
                                 17   accommodation”, the Website falls within the protection of the ADA because the
                                 18   Website “connects customers to the goods and services of [Defendant’s] physical”
                                 19   restaurant. Id. at 905.
                                 20         31.    Defendant’s website is replete with barriers, including but not limited
                                 21   to, heading elements which are not in a sequentially-descending order, which
                                 22   impede Plaintiff from accessing the goods and services of Defendant’s brick-and-
                                 23   mortar restaurant. For example, Plaintiff was deterred from navigating Defendant’s
                                 24   website, in part, because the headings were not listed in a sequential order. When
                                 25   headings are not properly ordered, screen-readers cannot convey the semantic
                                 26   structure of the webpage, making such headings misleading and unusable for users
                                 27   who rely on screen-readers, like Plaintiff. If Defendant had sufficiently coded the
                                 28   headings on its website to be properly ordered, Plaintiff would have been able to
                                                                                11
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                                  1   navigate the webpage as a sighted individual could.
                                  2         32.    Accordingly, Plaintiff was denied the ability to browse Defendant’s
                                  3   website because Defendant failed to have the proper procedures in place to ensure
                                  4   that content uploaded to the subject website contains the proper coding to convey
                                  5   the meaning and structure of the website and the goods and services provided by
                                  6   Defendant.
                                  7         DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                  8         33.    Due to the inaccessibility of the Defendant’s website, blind and
                                  9   visually impaired customers such as Plaintiff, who need screen-readers, cannot fully
                                 10   and equally use or enjoy the facilities and services Defendant offers to the public
                                 11   on its website. The access barriers Plaintiff has encountered have caused a denial
                                 12   of Plaintiff’s full and equal access in the past and now deter Plaintiff on a regular
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                                 13   basis from accessing the website.
                                 14         34.    These access barriers on Defendant’s website have deterred Plaintiff
                                 15   from enjoying the goods and services of Defendant’s brick-and-mortar restaurant
                                 16   which are offered through Defendant’s website in a full and equal manner to sighted
                                 17   individuals. Plaintiff and Class Members intend to visit the Defendant’s restaurant
                                 18   in the near future if Plaintiff and Class Members could access Defendant’s website
                                 19   as a sighted person can.
                                 20         35.    If the website were equally accessible to all, Plaintiff could
                                 21   independently navigate the website and complete a desired transaction, as sighted
                                 22   individuals do.
                                 23         36.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 24   knowledge of the access barriers that make these services inaccessible and
                                 25   independently unusable by blind and visually impaired people.
                                 26         37.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 27   with equal access to the website, Plaintiff alleges that Defendant engaged in acts of
                                 28   intentional discrimination, including, but not limited to, the following policies or
                                                                               12
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                                  1   practices: constructing and maintaining a website that is inaccessible to visually-
                                  2   impaired individuals, including Plaintiff; failing to construct and maintain a website
                                  3   that is sufficiently intuitive so as to be equally accessible to visually-impaired
                                  4   individuals, including Plaintiff; and failing to take actions to correct these access
                                  5   barriers in the face of substantial harm and discrimination to blind and visually-
                                  6   impaired consumers, such as Plaintiff, as a member of a protected class.
                                  7         38.    The Defendant uses standards, criteria or methods of administration
                                  8   that have the effect of discriminating or perpetuating the discrimination against
                                  9   others, as alleged herein.
                                 10         39.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                 11   seeks in this action. In relevant part, the ADA requires:
                                 12         In the case of violations of … this title, injunctive relief shall include
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                                 13         an order to alter facilities to make such facilities readily accessible to
                                 14         and usable by individuals with disabilities …. Where appropriate,
                                 15         injunctive relief shall also include requiring the … modification of a
                                 16         policy …. 42 U.S.C. § 12188(a)(2).
                                 17         40.    Because Defendant’s website has never been equally accessible, and
                                 18   because Defendant lacks a corporate policy that is reasonably calculated to cause
                                 19   the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 20   U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to
                                 21   retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                 22   with WCAG 2.1 guidelines for Defendant’s website.             The website must be
                                 23   accessible for individuals with disabilities who use desktop computers, laptops,
                                 24   tablets, and smartphones. Plaintiff seeks that this permanent injunction require
                                 25   Defendant to cooperate with the agreed-upon consultant to: train Defendant’s
                                 26   employees and agents who develop the website on accessibility compliance under
                                 27   the WCAG 2.1 guidelines; regularly check the accessibility of the website under
                                 28   the WCAG 2.1 guidelines; regularly test user accessibility by blind or vision-
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                                  1   impaired persons to ensure that the Defendant’s website complies under the WCAG
                                  2   2.1 guidelines; and develop an accessibility policy that is clearly disclosed on the
                                  3   Defendant’s website, with contact information for users to report accessibility-
                                  4   related problems and require that any third-party vendors who participate on the
                                  5   Defendant’s website to be fully accessible to the disabled by conforming with
                                  6   WCAG 2.1.
                                  7         41.    If Defendant’s website were accessible, Plaintiff could independently
                                  8   access information about the services offered and goods available for online
                                  9   purchase.
                                 10         42.    Although Defendant may currently have centralized policies regarding
                                 11   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                 12   reasonably calculated to make Defendant’s website fully and equally accessible to,
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                                 13   and independently usable by, blind and other visually impaired consumers.
                                 14         43.    Defendant has, upon information and belief, invested substantial sums
                                 15   in developing and maintaining Defendant’s website, and Defendant has generated
                                 16   significant revenue from Defendant’s website. These amounts are far greater than
                                 17   the associated cost of making Defendant’s website equally accessible to visually
                                 18   impaired customers.
                                 19         44.    Without injunctive relief, Plaintiff will continue to be unable to
                                 20   independently use Defendant’s website, violating their rights.
                                 21                                         COUNT I
                                 22      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                 23                                  U.S.C. § 12181 ET SEQ.
                                 24         45.    Plaintiff alleges and incorporates herein by reference each and every
                                 25   allegation contained in paragraphs 1 through 44, inclusive, of this Complaint as if
                                 26   set forth fully herein.
                                 27         46.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 28   provides: “No individual shall be discriminated against on the basis of disability in
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                                  1   the full and equal enjoyment of the goods, services, facilities, privileges,
                                  2   advantages, or accommodations of any place of public accommodation by any
                                  3   person who owns, leases (or leases to), or operates a place of public
                                  4   accommodation.” 42 U.S.C. § 12182(a).
                                  5         47.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                  6   discrimination also includes, among other things: “a failure to make reasonable
                                  7   modifications in policies, practices, or procedures, when such modifications are
                                  8   necessary to afford such goods, services, facilities, privileges, advantages, or
                                  9   accommodations to individuals with disabilities, unless the entity can demonstrate
                                 10   that making such modifications would fundamentally alter the nature of such goods,
                                 11   services, facilities, privileges, advantages or accommodations”; and “a failure to
                                 12   take such steps as may be necessary to ensure that no individual with a disability is
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                                 13   excluded, denied services, segregated or otherwise treated differently than other
                                 14   individuals because of the absence of auxiliary aids and services, unless the entity
                                 15   can demonstrate that taking such steps would fundamentally alter the nature of the
                                 16   good, service, facility, privilege, advantage, or accommodation being offered or
                                 17   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 18   accommodation shall take those steps that may be necessary to ensure that no
                                 19   individual with a disability is excluded, denied services, segregated or otherwise
                                 20   treated differently than other individuals because of the absence of auxiliary aids
                                 21   and services, unless the public accommodation can demonstrate that taking those
                                 22   steps would fundamentally alter the nature of the goods, services, facilities,
                                 23   privileges, advantages, or accommodations being offered or would result in an
                                 24   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                 25   order to be effective, auxiliary aids and services must be provided in accessible
                                 26   formats, in a timely manner, and in such a way as to protect the privacy and
                                 27   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 28   ///
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                                  1          48.    Defendant’s location is a “public accommodation” within the meaning
                                  2   of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue
                                  3   from the sale of its amenities and services, privileges, advantages, and
                                  4   accommodations in California through its location, related services, privileges,
                                  5   advantages,          and          accommodations,        and         its        website,
                                  6   https://www.cabralosangeles.com/, is a service, privilege, advantage, and
                                  7   accommodation provided by Defendant that is inaccessible to customers who are
                                  8   visually impaired like Plaintiff.       This inaccessibility denies visually impaired
                                  9   customers full and equal enjoyment of and access to the facilities and services,
                                 10   privileges, advantages, and accommodations that Defendant makes available to the
                                 11   non-disabled public. Defendant is violating the Americans with Disabilities Act,
                                 12   42 U.S.C. § 12181 et seq., in that Defendant denies visually impaired customers the
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                                 13   services,     privileges,     advantages,    and    accommodations         provided   by
                                 14   https://www.cabralosangeles.com/. These violations are ongoing.
                                 15          49.    Defendant’s actions constitute intentional discrimination against
                                 16   Plaintiff on the basis of a disability in violation of the Americans with Disabilities
                                 17   Act, 42 U.S.C. § 12181 et seq. in that: Defendant has constructed a website that is
                                 18   inaccessible to Plaintiff; maintains the website in this inaccessible form; and has
                                 19   failed to take adequate actions to correct these barriers even after being notified of
                                 20   the discrimination that such barriers cause.
                                 21          50.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                 22   set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                 23                                           COUNT II
                                 24     VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 25                                  CIVIL CODE § 51 ET SEQ.
                                 26          51.    Plaintiff alleges and incorporates herein by reference each and every
                                 27   allegation contained in paragraphs 1 through 50, inclusive, of this Complaint as if
                                 28   set forth fully herein.
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                                  1         52.    Defendant’s location is a “business establishment” within the meaning
                                  2   of the California Civil Code § 51 et seq. Defendant generates millions of dollars in
                                  3   revenue from the sale of its services in California through its location and related
                                  4   services, and https://www.cabralosangeles.com/ is a service provided by Defendant
                                  5   that is inaccessible to customers who are visually impaired like Plaintiff. This
                                  6   inaccessibility denies visually impaired customers full and equal access to
                                  7   Defendant’s facilities and services that Defendant makes available to the non-
                                  8   disabled public. Defendant is violating the Unruh Civil Rights Act, California Civil
                                  9   Code § 51 et seq., in that Defendant is denying visually impaired customers the
                                 10   services provided by https://www.cabralosangeles.com/.           These violations are
                                 11   ongoing.
                                 12         53.    Defendant’s actions constitute intentional discrimination against
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                                 13   Plaintiff on the basis of a disability in violation of the Unruh Civil Rights Act,
                                 14   California Civil Code § 51 et seq. in that: Defendant has constructed a website that
                                 15   is inaccessible to Plaintiff; maintains the website in this inaccessible form; and has
                                 16   failed to take adequate actions to correct these barriers even after being notified of
                                 17   the discrimination that such barriers cause.
                                 18         54.    Defendant is also violating the Unruh Civil Rights Act, California
                                 19   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                 20   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                 21   of the California Civil Code provides that a violation of the right of any individual
                                 22   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 23         55.    The actions of Defendant were and are in violation of the Unruh Civil
                                 24   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff is entitled to
                                 25   injunctive relief remedying the discrimination.
                                 26         56.    Plaintiff is also entitled to statutory minimum damages pursuant to
                                 27   California Civil Code § 52 for each and every offense.
                                 28   ///
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                                  1          57.   Plaintiff is also entitled to reasonable attorneys’ fees and costs.
                                  2          58.   Plaintiff is also entitled to a preliminary and permanent injunction
                                  3   enjoining Defendant from violating the Unruh Civil Rights Act, California Civil
                                  4   Code § 51 et seq., and requiring Defendant to take the steps necessary to make
                                  5   https://www.cabralosangeles.com/ readily accessible to and usable by visually
                                  6   impaired individuals.
                                  7                                PRAYER FOR RELIEF
                                  8          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment
                                  9   in her favor and against Defendant as follows:
                                 10          A.    A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 11                12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                 12                enjoining Defendant from violating the Unruh Civil Rights Act and
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                                 13                ADA and requiring Defendant to take the steps necessary to make
                                 14                https://www.cabralosangeles.com/ readily accessible to and usable by
                                 15                visually-impaired individuals;
                                 16          B.    An award of statutory minimum damages of $4,000 per offense
                                 17                pursuant to section 52(a) of the California Civil Code.
                                 18          C.    For attorneys’ fees and expenses pursuant to California Civil Code §§
                                 19                52(a), 52.1(h), and 42 U.S.C. § 12205;
                                 20          D.    For pre-judgment interest to the extent permitted by law;
                                 21          E.    For costs of suit; and
                                 22          F.    For such other and further relief as the Court deems just and proper.
                                 23                             DEMAND FOR JURY TRIAL
                                 24          Plaintiff, on behalf of herself, hereby demands a jury trial for all claims so
                                 25   triable.
                                 26   ///
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                                  1   Dated: June 22, 2022                        Respectfully Submitted,
                                  2
                                                                                  /s/ Thiago M. Coelho
                                  3                                               Thiago M. Coelho
                                  4                                               Binyamin I. Manoucheri
                                                                                  WILSHIRE LAW FIRM
                                  5                                               Attorneys for Plaintiff, Crystal
                                  6                                               Redick

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